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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS
______________________________________________________________________________
                                          )
DAVID BLUE,                               )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )
                                          )
THOMAS (“T.J.”) WARREN, SCOTT             )
MORSE; LISA BLUE; ROSE GRUNDY;            )
VERETTA GARNETT; LEAH BROWN;              )
ELAINA SCERENA, LISA IRVIN;               )
MICHELLE SCHAFER; CITY OF                 )
MARION; WILLIAMSON COUNTY                 )
STATE’S ATTORNEY                          )
                                          )     No.
                                          )
                                          )     JURY TRIAL DEMANDED
      Defendants.                         )
______________________________________________________________________________

                                         COMPLAINT

       Plaintiff, DAVID BLUE, by his undersigned attorney, for his complaint against

THOMAS WARREN, SCOTT MORSE, ROSE GRUNDY, VERETTA GARNETT, LEAH

BROWN, ELAINA SCERENA, LISA IRVIN, MICHELLE SCHAFER, LISA BLUE, CITY OF

MARION, and the WILLIAMSON COUNTY STATE’S ATTORNEY.

                                       INTRODUCTION

       1.      Plaintiff, David Blue, was falsely charged, prosecuted and convicted for sexually

assaulting his adopted 12-year-old daughter N.B. – a crime he did not commit. Defendants

fabricated a false story that was fed to N.B., an intellectually and cognitively delayed child who

was highly suggestible and had a history of sexual abuse prior to being adopted by the Plaintiff

and his wife, Defendant Lisa Blue.
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       2.      The fabricated allegations against Plaintiff came less than two months after

Defendant Blue lost her bid for sole custody of the couple’s children in an acrimonious custody

dispute.

       3.      During an interview with Marion police officer Defendant Warren and DCFS

investigator Defendant Grundy, N.B. denied that she had been sexually abused by her father.

Defendant Lisa Blue admitted that N.B. never expressly accused Plaintiff of sexual abuse, but

Defendant Blue claimed she suspected it. Defendants Warren, Grundy, and Blue together

concocted a false story of sexual abuse that they fed to N.B. At the direction of Defendants

Warren and Grundy, Defendant Blue coached N.B. over several days to adopt the false and

fabricated story so she could repeat it to a forensic interviewer.

       4.      N.B. attempted to repeat the false story to Defendant Brown during a forensic

interview supervised by Defendant Grundy. Because N.B. could provide no details or timeline

for these events, Defendants Brown assisted her in filling in the gaps with leading questions, all

which Defendant Grundy looked on and helped direct the forensic interview.

       5.      After the forensic interview, Defendants Warren and Grundy attempted to located

corroborating evidence for the claim but were unsuccessful. Plaintiff was an accomplished nurse

anesthetist and had never been accused in of any type of inappropriate sexual conduct toward

anyone. The case stalled for a three-month period due to the lack of supporting evidence.

       6.      Defendants Warren, Grundy and Garnet reached out to Defendant Prosecutor Lisa

Irvin to inquire about whether criminal charges would be approved against the Plaintiff.

Defendant Irvin told the Police Officer and DCFS Defendants that she would approve charges if

DCFS made a finding that abuse was indicated but that she would not be able to get approvals to

charge if DCFS did not make a finding that abuse was indicated.




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        7.       After developing no additional evidence and after obtaining exculpatory DCFS

records that showed that N.B. was prone to deception, was easily suggestible by adults, and had

suffered prior sexual abuse, Defendants Grundy, Garnett and Scerena agreed to make a finding

that abuse was indicated to ensure a criminal prosecution as directed by Defendant Irvin.

        8.       Defendant Irvin interviewed N.B. thereafter. N.B told the prosecutor that she did

not remember any abuse. Defendant Irvin helped reinforce the false narrative that the other

Defendants had created and fed to N.B. during her forensic interview, encouraging her to repeat

it and suggesting that she was just afraid of her father. Defendant Irvin initiated charges against

Plaintiff despite having coached N.B.’s story and despite the absence of any non-fabricated

evidence that suggested any abuse occurred.

        9.       At Plaintiff’s criminal trial, N.B. admitted that she was not sure that she was

abused at all.

        10.      At the close of the case, Defendant Schafer, the Williamson County Circuit Court

judge presiding over the matter, retired to her chambers and reviewed police reports and DCFS

documents that had been produced to her chambers earlier in the litigation because of their

sensitive nature. The materials were not offered into evidence at Plaintiff’s trial and should not

have been reviewed by the judge. Defendant Schafer forfeited her judicial function and adopted

an investigative one when she reviewed, considered, and relied on materials that were not

introduced into evidence as the basis for finding Blue guilty. Although she conducted that review

of materials in her chambers, she was not functioning as a judge but was functioning as in

investigator. She references the outside the record evidence in making her finding of guilt.

        11.      Plaintiff, a 41-year-old successful and highly regarded nurse anesthetist, lost his

job, his license, and his freedom following his wrongful conviction. After serving 20 months of a




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six-year sentence of imprisonment, the Illinois Appellate Court reversed Blue’s conviction

outright on May 2, 2023. People v. David Blue, 2023 IL App (5th) 220177

        12.     The office of the Williamson County State’s Attorney (“WCSAO”)

unsuccessfully sought review from the Illinois Supreme Court. On September 27, 2023, the

Illinois Supreme Court denied the State’s Petition for Leave to Appeal. The Illinois Appellate

court mandate reversing Blue’s conviction was issued on December 7, 2023.

        13.     Plaintiff now seeks justice for the inconceivable harm that the Defendants caused

him and redress for the incalculable loss of liberty and hardship that Plaintiff has endured and

continues to suffer as a result of the Defendants' misconduct.

                                  JURISDICTION AND VENUE

        14.     This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of state law of Plaintiff’s rights as secured by the United States Constitution as well

as the deprivation of rights under Illinois state law.

        15.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1367. Venue is proper

under 28 U.S.C. §1391(b), because the parties reside in this judicial district, and the events

giving rise to the claims asserted herein occurred in this judicial district.

                                              PARTIES

        16.     Plaintiff David Blue is a 45-year-old man African American man who spent 20

months in prison for a crime he did not commit.

        17.     At all relevant times, Defendants Warren and Morse were members of the Marion

Police Department. Each of these defendants conspired with one another and with other persons,

known and unknown, to conceal and fabricate evidence, manipulate witness testimony, coerce

fabricated statements, and maliciously prosecute Plaintiff.




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         18.   At all relevant times, Defendant Grundy, Garnett, Brown, and Scerena, were

employed by the Illinois Department and Children Family Services (“DCFS”). Each of these

defendants worked hand and glove with the Marion Police Department Defendants in an

investigatory capacity. Each of these defendants conspired with one another and with other

persons, known and unknown, to conceal and fabricate evidence, manipulate witness testimony,

coerce fabricated statements, and maliciously prosecute Plaintiff.

         19.   At all relevant times, Defendant Irvin, while acting in an investigatory fashion,

procured a fabricated statement from N.B. Defendant Irvin is sued for conspiring with the

Defendant Officers, the DCFS Defendants and Defendant Blue to frame Plaintiff while acting in

an investigatory capacity and without probable cause to believe that Plaintiff committed a crime.

         20.   At all relevant times, Defendant Blue, was the adoptive mother of N.B.

         21.   At all relevant times, Defendant Schafer was a Williamson County Circuit Court

judge who acted in an investigatory function rather than a judicial one. Her conduct is not

protected by any immunity, absolute or qualified, where her conduct was not judicial but rather

investigate in nature and in violation of statutory and constitutional law.

         22.   Defendant City of Marion is an Illinois Municipal Corporation, which employs or

employed the Police Officer Defendants at the time of the events giving rise to this suit.

         23.   Defendant Williamson County is a governmental entity within the State of Illinois

which provides funding for the Williamson County State’s Attorney’s Office, which is

responsible for paying any judgment entered against the Defendant Assistant State’s Attorney

Irvin.

         24.   Each of the individual Chicago Police Officer Defendants and Assistant State’s

Attorney Defendant are sued in his or her individual capacity, and each acted under color of state




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law and in the scope of his or her employment while engaging in the actions alleged in this

Complaint.

        25.    Each of the individual DCFS defendants are sued in their individual capacity, and

each of them worked under color of law together with law enforcement, to assist in the criminal

prosecution of the Plaintiff.

                                  FACTUAL ALLEGATIONS

                          David and Lisa Blue Foster and Adopt N.B.

        26.    Plaintiff and Defendant Blue started dating in 2003 after Plaintiff moved to

central Illinois to work at Decatur Memorial Hospital. The couple left Illinois to move back to

Plaintiff’s home state of Louisiana for a couple of years before eventually marrying in April

2006.

        27.    After Plaintiff obtained his master’s degree in Baton Rouge, the couple moved

back to Southern Illinois. They tried for years to have children but struggled with infertility. In

2012, the couple began fostering a 11-month-old boy, G.B., with an eye toward adoption.

        28.    In June 2013, DCFS contacted the Blue family and asked whether they could

foster a pair of siblings on an emergency basis for a short period of time. The Blue’s agreed and

opened their home to a 15-year-old boy, D.A. and his younger sister, six-year-old N.B.

        29.    The short-term foster turned into a long-term foster arrangement. As of 2015, the

Blue’s were fostering two children (G.B. 4 and N.B. 8) D.A. aged out of foster care in and

around 2015 but he had lived with the Blue’s until that point.

        30.    In 2016, the couple officially adopted G.B. and the following year they officially

adopted N.B.




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     N.B.’s Prior History of Abuse and Significant Behavioral and Intellectual Deficits

        31.     When the Blue’s began fostering N.B. she had significant behavioral, cognitive,

and intellectual deficits that were, in large part, a product of a profoundly neglectful and abusive

childhood that pre-dated her placement with the Blue’s. N.B’s (and D.A’s) birth mother suffered

from severe mental health disorders and N.B. experienced extreme environmental neglect and

had a substantial risk of physical and environment injuries.

        32.     N.B. and her biological brother D.A. were removed from their birth mother’s care

in March 2013 (for a second time). At the time of N.B.’s placement with the Blue family, she

had suffered physical and sexual abuse. DCFS was aware that N.B. had been sexually abused

prior to placement with the Blue family and documented that prior sexual abuse. D.A. had told

DCFS social workers that he believed she was molested between the ages of 10 months and 2

years, because she started engaging in inappropriate sexual behavior shortly thereafter.

Additionally, N.B.’s biological mother claimed that N.B. had been sexually abused in a foster

home that pre-dated her placement with the Blue’s.

        33.     Defendant Blue frequently expressed her belief that N.B. had been sexually

abused because of inappropriate sexual behavior that she exhibited, including by attempting to

touch her younger brother G.B. in sexual ways. Defendant Blue requested subsidies from DCFS

to address N.B.’s behavioral issues which included the inappropriate sexual behavior, self-

mutilation, and inappropriate urinating and defecating behaviors. DCFS approved those subsidies

because of suspected child abuse that pre-existed N.B.’s placement with the Blue family.

          Plaintiff and Defendant Blue’s Marriage Ends in an Acrimonious Divorce

        34.     Even before N.B.’s adoption was final, Plaintiff and Defendant Blue began

experiencing difficulties in their marriage, in part, because Plaintiff had an affair that left




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Defendant Blue angry and bitter. The couple decided to stick it out for the sake of their foster

children and worked toward repairing their marriage with little success. The couple eventually

separated in March 2017.

         35.     The split was highly acrimonious and resulted in a divorce trial during which

Defendant Blue sought sole custody of the children. Defendant Blue blamed Plaintiff for the split

because of his infidelity.

         36.     At no point prior to the custody hearing did Defendant Blue suspect or accuse

Plaintiff of mistreating their children in any manner. At no point prior to the custody hearing did

any of Plaintiff’s foster children complain that Plaintiff had mistreated them in any manner,

including sexually. At no point ever did any person suspect or accuse Blue of sexual misconduct

in connection with his work as a nurse and medical provider. Indeed, by all accounts he was a

devoted father who encouraged his children to succeed in school and in their extra-curricular

activities.

         37.     The couple’s divorce was finalized in August 2019. Defendant Blue lost her bid

for sole custody of the children and was furious that she did not receive a larger child support

award.

               Defendants Fabricate Evidence that Plaintiff Sexually Assaulted N.B.

         38.     Less than two months later, on October 28, 2019, Defendant Blue walked into the

Marion Police department and falsely reported to the Officer Defendants that N.B. had disclosed

to her that Plaintiff had sexually abused her. In truth, N.B. had not complained of any act of

sexual abuse to her mother but had merely complained that she did not want to go to her father’s

home because he made her attend her extra-curricular activities on the weekends and urged her

study and practice the sports she was enrolled in.




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       39.     Defendant Warren reported the complaint to DCFS and arranged to interview

Defendant Blue and N.B. with DCFS investigator, Defendant Grundy. Defendant Grundy was an

investigator with DCFS who was assigned to the DCFS investigation and was assigned to assist

the Marion police department with the criminal investigation

       40.     Defendants Warren and Grundy interviewed N.B. and Defendant Blue at the

Marion police department. Defendant Blue told Defendants Warren and Grundy that Plaintiff

had cheated on her and reported that that he was into some “weird” things sexually.

       41.     Both Defendants Warren and Grundy disapproved that Plaintiff, who was an

African American man, was in a relationship with and had married a White woman.

       42.     Defendants Warren and Grundy, in the presence of Defendant Blue then

interviewed N.B. During the interview, N.B. denied any sexual abuse by her father. N.B.

complained that she did not want to go to her father’s house but denied that he had touched her

in an inappropriate sexual way.

       43.     After the interview, Defendants Warren, Grundy, and Blue discussed the fact that

N.B. denied sexual abuse by the Plaintiff. Defendant Blue admitted to Defendants Warren and

Grundy that N.B. had not expressly disclosed that Plaintiff had sexually abused her or touched

her, but Defendant Blue told Defendants Warren and Grundy that she personally believed that

N.B. was abused by the Plaintiff, pointing out that N.B. did not want to stay at her father’s new

house. Defendant Blue continued to reiterate that Plaintiff was into “weird” sexual things.

Defendant Blue did not provide any facts that supported her belief that Plaintiff had sexually

abused N.B.

       44.     Defendants Warren and Grundy told Defendant Blue that she should trust her

instincts and agreed that Plaintiff probably sexually abused N.B. even though there was no




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 evidence to support the accusation, other than a suspicion by any angry and bitter ex-wife who

 was aiming to get sole custody of her kids to punish the Plaintiff for his infidelities.

        45.     Defendants Warren and Grundy explained to Defendant Blue that N.B. would be

 interviewed by a forensic interviewer and that Defendant Blue should practice a story with N.B.

 that she would repeat to the interviewer.

        46.     Because the Defendants knew that there would be no physical evidence of child

 sexual abuse (because none had occurred), they decided to feed a false story to N.B. wherein

 N.B. accused Plaintiff of forcing her to commit an act of oral sex on him which would be

 consistent with an absence of physical evidence of sexual abuse. Defendants Warren, Blue and

 Grundy crafted a false narrative that Defendant Blue planned to feed to N.B. that N.B. would

 later repeat to a forensic interviewer.

        47.     For the next three days, Defendant Blue fed a false story to N.B. which included

 incorporating facts that N.B. had described to Defendant Blue that occurred in a prior foster

 placement. For example, N.B. had told the Blue’s about a time a foster parent had “choked” her.

 At Defendant Blue’s urging, N.B. incorporated that fact into the false oral sex narrative that

 Defendant Blue had discussed with Defendants Warren and Grundy. Defendant Blue told N.B.

 that her father had put his penis in her mouth and that something that looked like “cake batter”

 came out. N.B. did not tell this story to Defendant Blue. Rather Defendant Blue introduced this

 false story to N.B. at the direction of Defendants Warren and Grundy.

        48.     Defendants were easily able to manipulate N.B. into making a false allegation

 against her father because of her serious intellectual and cognitive delays. N.B. was easily

 coached and manipulated into lying. DCFS records showed that she had a history of

 understanding the truth from the lie, was highly suggestable, prone to confabulation, inclined to




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 say and do things to please adults, and had actually been a victim of sexual abuse prior to her

 placement with the Blue’s.

         49.    Defendant Blue brought N.B. for a forensic interview on October 31, 2019.

 Defendant Brown conducted the forensic interview while Defendant Grundy observed. At the

 time of the interview, Defendant Brown knew that N.B. had denied any acts of sexual abuse.

 Defendant Grundy told Defendant Brown that she believed that N.B. had been sexually abuse

 and told Defendant Brown the false narrative that she contrived with Defendants Warren and

 Blue.

         50.    Defendants Grundy and Brown consulted with each other throughout the

 interview and Defendant Brown prompted N.B. when necessary, so that N.B. could repeat the

 false story that had been crafted by the Defendants and fed to N.B. by Defendant Blue.

 Defendant Brown, in collaboration with Defendant Grundy, manipulated and coerced N.B. into

 repeating the false narrative that Plaintiff had forced N.B. to commit an act of oral sex on him.

         51.     Despite the fact that N.B. could provide no details about this alleged abuse and

 had no sense of when it happened, how often it happened, and could not even describe her

 feelings about the alleged abuse, Defendants Grundy and Brown coached N.B. to adopt the story

 through leading questions that required only ‘yes’ or ‘no’ responses.

         52.    N.B. repeated the false story to please her mother who promised her that she

 would not have to go to her father’s house and would be rewarded if she told the story to the

 forensic interviewer.

                  Plaintiff Is Interviewed by Defendants Warren and Grundy

         53.    After the interview, Defendants Warren and Grundy interviewed the Plaintiff who

 vehemently denied any inappropriate conduct toward his daughter and urged Defendants to




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 investigate the false claims. Plaintiff told the Defendants that he had just gone through bitter

 divorce proceedings with Defendant Blue and that she had a strong motive to make up a false

 story after she was denied sole custody of their children.

        54.     Defendants Warren and Grundy had first-hand knowledge that Defendant Blue

 was furious at Plaintiff and had blamed the demise of their marriage on his infidelity.

        55.     Plaintiff urged the Defendants to speak to his colleagues and other members of

 the community who could vouch for the fact that he had never acted in appropriately with

 anyone. He reminded the Defendants that he had parented N.B. for seven years without incident

 and was a nurse anesthetist who had regular contact with children without any incident or claims

 of wrongdoing. Plaintiff pointed out that the timing of the allegation was highly suspicious and

 that they should investigate this claim.

        56.     Plaintiff voluntarily provided a buccal swab for DNA analysis and gave

 Defendant Warren consent to search and photograph his home.

        Williamson County Assistant State’s Attorney Lisa Irving Approves Charges

        57.     Over the next three months, Defendants Warren and Morse and the DCFS

 Defendants reviewed DCFS records and interviewed individuals in an effort to corroborate the

 sexual abuse allegations. The only evidence developed exculpated Plaintiff.

        58.     The DCFS records demonstrated that N.B. had serious intellectual, behavioral,

 and cognitive impairments that resulted from her neglectful and abusive background. They also

 knew that Defendant Blue had complained about N.B.’s inappropriate sexual conduct toward her

 younger brother. Defendant Blue also complained that N.B. routinely lied and did not seem to

 understand that she should not lie.




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        59.     The DCFS Defendants also discovered more evidence and reports that N.B. had

 been sexually abused prior to her placement with the Blue’s. The DCFS Defendants reported that

 information to Defendant Warren but together they agreed to conceal the information from

 Plaintiff and the criminal justice system.

        60.     Defendant Warren urged the Williamson County State’s Attorney’s office to

 charge Plaintiff with aggravated sexual assault against N.B. even though no probable cause

 existed to support the charge, and he knew that N.B.’s account was entirely fabricated by him,

 Defendant Grundy and Defendant Blue and had been reinforced by Defendant Brown.

        61.     Defendant Warren consulted with Defendant Irvin about approving sexual assault

 charged against the Plaintiff. Defendant Irvin told Defendants Warren, Grundy and Garnett that

 if DCFS made a finding that sexual abuse was indicated, she would persuade the assistant state’s

 attorney to approve criminal charges against Plaintiff.

        62.     On January 28, 2020, Defendant Grundy, with the supervision and approval of

 Defendant Garnett, made a finding that sexual abuse was indicated even though Defendant

 Grundy knew she had helped fabricate the claim, no other evidence supported the allegation, and

 that she had concealed evidence that showed that N.B. had been previously sexually abused

 before her placement with the Blue family and she was high risk for a false allegation. These

 Defendants also knew that Defendant Blue had incredible animosity toward Plaintiff and had

 urged N.B. to adopt the false story.

        63.     On February 18, 2020, Defendant Irvin interview Defendant Blue who repeated

 her allegations against Plaintiff, including her claims that he was into “weird” sexual stuff and

 had cheated on her.




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        64.     Defendant Irvin also interviewed N.B. who did not voluntarily make any claims

 of sexual abuse against her father. Instead, Defendant Irvin fed the false narrative to N.B. and

 coached her to repeat it. Defendant Irvin helped develop the fabricated evidence against Plaintiff,

 acting in an investigatory fashion. She then approved felony charged against Plaintiff, charging

 him with aggravated criminal sexual assault.

                                 Plaintiff’s Wrongful Prosecution

        65.     Plaintiff waived his right to a jury trial and proceeded to a bench trial before

 Circuit Court Judge Michele Shafer. The prosecution’s case against Plaintiff hinged entirely on

 the fabricated testimony of N.B. – procured by the Defendant Officers, DCFS Defendants and

 the Defendant Prosecutor.

        66.     Defendant Warren and Defendant Blue testified falsely at trial, claiming that N.B.

 had made an outcry accusing Plaintiff of sexual abuse when no such outcry occurred. In reality,

 a fabricated tale of sexual abuse, created by Defendants, was fed to N.B. that she later repeated

 with much coaching and urging.

        67.     At no point did any Defendant produce to Plaintiff’s criminal attorney

 comprehensive information about N.B. history of sexual abuse that pre-dated her placement with

 the Blue’s.

        68.     No physical or forensic evidence suggested Plaintiff was had abused his

 Daughter.

        69.     During her testimony, N.B. admitted that she was not sure whether any sexual

 abuse had occurred.

        70.     After the parties rested, Defendant Shafer retired to her chambers for a period of

 time. During that time Defendant Shafer reviewed a box of DCFS records and other discovery




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 material that had not been introduced into evidence by either party. Defendant Shafter removed

 her robe and began reviewing documents even though the documents had not been introduced

 into evidence. She abandoned her judicial function and acted in an investigatory function.

        71.     Defendant Shafter found Plaintiff guilty of aggravated criminal sexual assault in a

 ruling she gave from the bench. In that ruling, she specifically referenced reports that had not

 been introduced into evidence by either of the parties

        72.     Plaintiff was sentenced to six years in the Illinois Department of Corrections.

                                      Plaintiff’s Exoneration

        73.     Plaintiff always maintained his innocence.

        74.     Plaintiff conviction was reversed outright by the Illinois Appellate Court after the

 court unanimously concluded that the prosecution had failed to meet its burden proof writing,

 “N.B.’s conflicting and unreliable statements from the witness stand, together with the lack of

 corroborating evidence, cast reasonable doubt about the defendant’s guilt.”

        75.     The Williamson County State’s Attorney filed a motion to reconsider and then a

 petition for leave to appeal to the Illinois Supreme Court. The Illinois Appellate Court ordered

 Plaintiff released on bond during the pendency of the PLA.

        76.     The PLA was denied on September 27, 2023.

        77.     The appellate court mandate was issued on December 7, 2023.

                                        Plaintiff’s Damages

        78.     Plaintiff has suffered and continues to suffer enormous physical and

 psychological injury as a direct and proximate result of the Defendants’ misconduct. Plaintiff

 served over 20 months years in prison for crimes that he did not commit. He woke up each day

 with this reality, not knowing whether he would have to serve the entirety of his sentence.




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         79.     Defendants conduct separated Plaintiff from his family and destroyed his

 relationship with his children who he loved and was devoted to. Defendant’s career was

 destroyed and despite his acquittal must live with the reality that some people will always

 wonder if he actually sexually abused his child, a heinous crime.

         80.     As a result of Defendants’ actions, Plaintiff continues to experience physical and

 psychological pain and suffering, humiliation, constant fear and anxiety, deep depression, despair,

 rage, and other physical and psychological effects from his years of wrongful conviction.

                                            COUNT I
                     42 U.S.C. § 1983 – Due Process: Fabrication of Evidence

         81.     Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         82.     As more fully described above, the individual Police Officer Defendants,

 Defendant Irvin, Defendant Ble, and DCFS Defendants, acting individually, jointly, and in

 conspiracy, as well under color of law and within the scope of their employment, deprived

 Plaintiff of his constitutional right to a fair trial, in violation of the Fourteenth Amendments by

 fabricating statement of N.B. falsely implicating Plaintiff in sexual abuse of a child.

         83.     In the manner described more fully above, Defendants fabricated, coerced,

 manipulated and/or solicited false testimony from N.B., implicating Plaintiff in the crimes that he

 knew he did not commit; falsified police reports; falsified a forensic interview, obtained

 Plaintiff’s conviction using false evidence; and failed to correct fabricated evidence that they

 knew to be false when it was used against Plaintiff at his criminal trial.

         84.     The Police Officer Defendants and Prosecutor Defendants concealed and

 fabricated additional evidence that is not yet known to Plaintiff.




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         85.     Absent this misconduct, Plaintiff would not have been wrongfully convicted of

 sexually abusing N.B. Thus, the defendants’ misconduct deprived Plaintiff of his constitutional

 right to a fair trial and directly resulted in Plaintiff’s wrongful conviction.

         86.     The misconduct described in this Count was objectively unreasonable and was

 undertaken intentionally, with malice, with reckless indifference to the rights of others, and in

 total disregard of the truth and Plaintiff’s clear innocence.

         87.     As a direct and proximate result of this deprivation of his constitutional right to a

 fair trial, Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

 humiliation, degradation, emotional pain and suffering, and other grievous and continuing

 injuries and damages.

                                             COUNT II
                                 42 U.S.C. § 1983 – Brady Violations

         88.     Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         89.     As described in detail above, all of the individual Police Officer Defendants and

 Prosecutor Defendants, acting individually, jointly, and in conspiracy, as well under color of law

 and within the scope of their employment, deprived Plaintiff of his constitutional right to a fair

 trial, in violation of the Fifth and Fourteenth Amendments by withholding and suppressing

 exculpatory evidence from Plaintiff.

         90.     All of the Defendants concealed exculpatory evidence, including but not limited

 to, that: (1) N.B. had told investigators multiple times that Plaintiff did not abuse her; and (2) that

 she had serious sexual abuse in her background that helped explain why Defendants were easily

 able to coach her into telling a false story.




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         91.     The Defendants further suppressed their own misconduct and the misconduct of

 their fellow officers and DCFS workers.

         92.     The Defendants continued to suppress exculpatory evidence after Plaintiff’s

 conviction. Had this exculpatory evidence been disclosed, Plaintiff would not have spent 20

 months in prison for a crime he did not commit.

         93.     The misconduct described above was objectively unreasonable and was

 undertaken intentionally, with malice, willful indifference to Plaintiff’s constitutional rights and

 in total disregard of the truth and Plaintiff’s clear innocence.

         94.     As a direct and proximate result of this deprivation of his constitutional right to a

 fair trial, Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

 humiliation, degradation, emotional pain and suffering, and other grievous and continuing

 injuries and damages.

                                         COUNT III
               42 U.S.C. § 1983 – Malicious Prosecution and Unlawful Detention

         95.     Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         96.     In manner more fully described above, the Defendant officers, DCFS Defendants,

 Defendant Schafer and Defendant Irvin acting individually, jointly, and in conspiracy, as well

 under color of law and within the scope of their employment, deprived Plaintiff of his Fourth and

 Fourteenth Amendment constitutional rights.

         97.     The Defendants accused Plaintiff of criminal activity and exerted influence to

 initiate, continue, and perpetuate judicial proceedings against Plaintiff without any probable

 cause for doing so, in violation of his rights secured by the Fourth Amendment and the

 procedural and substantive due process components of the Fourteenth Amendment.



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         98.     In so doing, the Defendants caused Plaintiff to be unreasonably seized and

 improperly subjected to judicial proceedings for which there was no probable cause. These

 judicial proceedings were instituted and continued maliciously, resulting in injury, and in all

 such proceedings were ultimately terminated in Plaintiff’s favor indicative of his innocence.

         99.     The Defendants subjected Plaintiff to unauthorized and arbitrary governmental

 action that shocks the conscience in that Plaintiff was deliberately and intentionally framed for a

 crime of which he was totally innocent, through the Defendants’ fabrication of evidence, and

 suppression, and withholding of evidence.

         100.    The misconduct described above was objectively unreasonable and was

 undertaken intentionally, with malice, willful indifference to Plaintiff’s constitutional rights and

 in total disregard of the truth and Plaintiff’s clear innocence.

         101.    As a direct and proximate result of this deprivation of his constitutional right,

 Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

 humiliation, degradation, emotional pain and suffering, and other grievous and continuing

 injuries and damages.

                                         COUNT IV
                 42 U.S.C. § 1983 – Conspiracy to Violate Constitutional Rights

         102.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         103.    All of the individual Police Officer Defendants, DCFS Defendants, Defendant

 Blue, Prosecutor Defendants, Defendant Schafer and other co-conspirators, known and not yet

 known to Plaintiff, reached an agreement amongst themselves to coerce, induce, and fabricate

 false evidence in the form of witness statements and testimony for the purpose of framing

 Plaintiff for a crime he did not commit.



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         104.    All of the individual Defendants, and other co-conspirators, known and not yet

 known to Plaintiff, reached an agreement amongst themselves to deprive Plaintiff of material

 exculpatory evidence and information to which he was lawfully entitled and to conceal their

 misconduct from Plaintiff, all in violation of Plaintiff’s constitutional rights, as described above.

         105.    In this manner, the Defendants acting in concert with other known and unknown

 co-conspirators, conspired to accomplish an unlawful purpose by an unlawful means.

         106.    In furtherance of the conspiracy, each of the co-conspirators committed overt acts

 and was an otherwise willful participant joint activity.

         107.    The misconduct described in this Count was objectively unreasonable and was

 undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights.

         108.    As a direct and proximate result of this of this illicit agreement referenced above,

 Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

 humiliation, degradation, emotional pain and suffering, and other grievous and continuing

 injuries and damages.

                                            COUNT V
                              42 U.S.C. § 1983 – Failure to Intervene

         109.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         110.    In the manner described above, one or more of the individual Police Officer

 Defendants, the Defendant Prosecutors, DCFS Defendant and other unknown individuals, stood

 by without intervening to prevent the alleged constitutional violations, despite having an

 opportunity to do so.

         111.    These Defendants had ample, reasonable opportunities as well as a duty to

 prevent this harm but failed to do so.



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         112.    The misconduct described in this Count was objectively unreasonable and was

 undertaken intentionally, with malice, with willful indifference to Plaintiff’s constitutional rights,

 and in total disregard of the truth and Plaintiff’s innocence.

         113.    As a direct and proximate result of this failure to intervene to prevent the violation

 of Plaintiff’s constitutional rights, Plaintiff suffered injuries, including, but not limited to, loss of

 liberty, great mental anguish, humiliation, degradation, emotional pain and suffering, and other

 grievous and continuing injuries and damages.

                                           COUNT VI
                             State Law Claim – Malicious Prosecution

         114.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         115.    All of the individual Defendants caused Plaintiff to be improperly subjected to

 judicial proceedings for which there was no probable cause. These judicial proceedings were

 instituted and continued with malice and resulted in the injury to Plaintiff. All such proceedings

 were ultimately terminated in Plaintiff’s favor and in a manner indicative of innocence.

         116.    The Defendants accused Plaintiff of sexually abusing N.B., knowing that he was

 innocent of the crime. All of the individual defendants fabricated evidence, manipulated witness

 testimony, and withheld exculpatory evidence. The individual Defendant officers and Prosecutor

 Defendants DCFS Defendants and Defendant Blue knowingly made false statements with the

 intent of exerting influence to institute and continue judicial proceedings against Plaintiff.

         117.    The misconduct described in this Count was undertaken with malice, willfulness

 and reckless indifference to Plaintiff’s rights.

         118.    As a direct and proximate result of this misconduct, Plaintiff suffered injuries,

 including, but not limited to, emotional distress, as is more fully alleged above.



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                                           COUNT VII
                                State Law Claim – Civil Conspiracy

         120.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         121.    As described more fully in the preceding paragraphs, the Defendants acting in

 concert with one another and other co-conspirators, known and unknown, conspired to

 accomplish an unlawful purpose by unlawful means. In additional, these co-conspirators agreed

 among themselves to protect one another from liability for depriving Plaintiff of these rights.

         122.    In furtherance of the conspiracy, the Defendants committed overt acts and were

 otherwise willing participants in joint activity.

         123.    The violations of Illinois law described in this complaint, including Defendants'

 malicious prosecution of Plaintiff and their intentional infliction of emotion distress, were

 accomplished by Defendants' conspiracy.

         124.    The misconduct described in this Count was objectively unreasonable, was

 undertaken intentionally, and in total disregard of the truth and Plaintiff's clear innocence.

         125.    As a direct and proximate result of this misconduct, Plaintiff suffered injuries,

 including, but not limited to, emotional distress, as is more fully alleged above.

                                        COUNT VIII
                 State Law Claim – Intentional Infliction of Emotional Distress

         126.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         127.    The acts and conduct of the individual Defendants as set forth above were

 extreme and outrageous. The Defendants intended to cause or were in reckless disregard of the

 probability that their conduct would cause sever, emotional distress to Plaintiff.




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           128.   The individual Defendants’ actions and conduct directly and proximately caused

 severe emotional distress to Plaintiff, and thereby constituted intentional infliction of emotional

 distress.

           129.   The misconduct described in this Count was undertaken with malice, willfulness

 and reckless indifference to Plaintiff’s rights.

           130.   As a direct and proximate result of Defendants’ wrongful acts, Plaintiff suffered

 injuries, including, but not limited to, emotional distress, as is more fully alleged above.

                                           COUNT IX
                          State Law Claim - Willful and Wanton Conduct

           131.   Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

           132.   At all times relevant to this complaint the Defendants had a duty to refrain from

 willful and wanton conduct.

           133.   Notwithstanding that duty, these Defendants acted willfully and wantonly through

 a course of conduct that showed an utter indifference to, or conscious disregard of, Plaintiff's

 rights.

           134.   As a direct and proximate result of Defendants’ wrongful acts, Plaintiff suffered

 injuries, including, but not limited to, emotional distress, as is more fully alleged above.

                                           COUNTY X
                               State Law Claim – Parental Alienation

           135.   Defendant Blue, along with Defendants Warren and Grundy, together conceived

 of and did carry out a plan to alienate Plaintiff from his daughter by manipulating N.B. and

 falsely telling a highly suggestible child that her father had abused her. This conduct was child

 abuse itself.




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         136.    Defendant Blue acted intentionally when she falsely told N.B. that her father

 sexually abused her and then convinced her to repeat the false story to Defendants Warren and

 the DCFS Defendants, and Defendant Irvin. N.B. eventually conceded she was not sure the story

 was true from the witness stand.

         137.    Defendants alienated N.B. from her loving and devoted father. Plaintiff suffered

 and continues to suffer extreme emotional distress as a result of the intentional conduct of

 Defendant Blue and the other Defendants.


                                             COUNT XI
                                         Respondeat Superior

         138.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         139.    When they committed the acts alleged in this Complaint, the individual Defendant

 officers were members and agents of the Marion Police Department, an agency of the City of

 Marion, acting at all relevant times within the scope of their employment and under color of law.

         140.    Defendant City of Marion is liable as principal for all constitutional violations

 committed by its agents.

                                             COUNT XII
                                           Indemnification

         141.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

 set forth herein.

         142.    Illinois law provides that public entities must pay any judgments for

 compensatory damages for which its employees are liable based on upon the employees’

 misconduct committed within the scope of their employment activities.




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        143.    The individual Defendant officers are or were employees of the Marion Police

 Department, an agency of the City of Marion, who acted within the scope of their employment in

 committing the misconduct described herein.

        144.    The individual Defendant Prosecutor is or was an employee of the Williamson

 County State’s Attorney’s Office, an agency of the County of Williamson, who acted within the

 scope of her employment in committing the misconduct described herein.

        WHEREFORE, Plaintiff David Blue prays this Court enter judgment in his favor and

 against Defendants THOMAS WARREN, SCOTT MORSE, ROSE GRUNDY, VERETTA

 GARNETT, LEAH BROWN, ELAINA SCERENA, LISA IRVIN, MICHELLE SCHAFER,

 LISA BLUE, CITY OF MARION, and the WILLIAMSON COUNTY STATE’S ATTORNEY,

 awarding compensatory damages, costs and attorneys’ fees against all Defendants, and punitive

 damages against each of the individual Defendants in their individual capacities; and for such

 further and additional relief as this Court may deem appropriate and just.

                                           JURY DEMAND

        Plaintiff demands trial by jury.



                                                      Respectfully Submitted,

                                                      DAVID BLUE

                                              By:     /s/JENNIFER BONJEAN


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